             Case 8:18-bk-06760-CPM          Doc 42    Filed 11/07/18     Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                       Case No.: 8:18-bk-06760-CPM
                                                             Chapter 7
Lois Mae Wright

         Debtor                /

    CORRECTIVE TRUSTEE’S OBJECTION TO AMENDED CLAIM OF EXEMPTIONS

                              NOTICE OF OPPORTUNITY TO
                            OBJECT AND REQUEST A HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days
from the date set forth on the attached proof of service, plus an additional three days for
service if any party was served by U.S. Mail. If you object to the relief requested in this
paper, you must file a response with the Clerk of the Court at 801 N. Florida Ave., Suite
555, Tampa, FL 33602-3899 and serve a copy on the movant, Richard M. Dauval, 3900 1st
Street North, Suite 100, Saint Petersburg, FL 33703, and any other appropriate persons
within the time allowed.

If you file and serve a response within the time permitted, the Court will either schedule
and notify you of a hearing, or consider the response and grant or deny the relief requested
without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.

         Carolyn R. Chaney, Trustee in the above-captioned Chapter 7 case, files this Objection to

Debtor’s Amended Claim of Exemptions and states as follows:

    1. The Debtor filed her voluntary petition, schedules and related documents originally

         scheduling real property located at “1225 Melrose Avenue, St. Petersburgh (sic), FL

         33705” (hereinafter the “Homestead”) with a value of $75,000.00, and claiming its

         purported equity as exempt under Fla. Const. Art. X § 4(a)(1); Fla. Stat. Ann. §§ 222.01

         & 222.02. The Debtor later filed an Amended Statement of Financial Affairs disclosing
            Case 8:18-bk-06760-CPM             Doc 42   Filed 11/07/18     Page 2 of 3



       the transfer of a vacant lot, which lies adjacent to the Homestead, to an insider, within 30

       days prior to filing her bankruptcy case (hereinafter, the “Transferred Vacant Lot”).

       Lastly, on October 25, 2018, the Debtor then filed Amended Schedules A/B and C,

       increasing the value (and claim of exemption) of the Homestead to $99,000.00 and

       providing a narrative that the Debtor intends to claim the one hundred percent of the

       Homestead and the Transferred Vacant Lot as exempt.

   2. The Trustee files her objection to the Debtor’s Amended Schedule C and seeks an order

       disallowing her claim that the Transferred Vacant Lot is wholly exempt under Fla. Const.

       Art. X § 4(a)(1). The Florida Constitution Art. X (4)(a)(1) limits the ability to claim the

       Homestead as exempt to those which are “owned by [the] natural person.” The Debtor

       transferred her interest in the Transferred Vacant Lot via a duly executed Quit Claim

       Deed (see attached) on August 2, 2018, twelve days prior to filing the instant bankruptcy

       case. The Debtor did not own the Transferred Vacant Lot as of the petition date and

       therefore should be disallowed the ability to claim it as exempt.

       WHEREFORE the Trustee respectfully requests the entry of an Order disallowing the

Debtors’ claim of exemptions as filed, and for any other relief which this court deems just.

                                      Respectfully submitted,

                                       /s/ Richard M. Dauval
                                      Richard M. Dauval, Esq.
                                      Leavengood, Dauval, Boyle & Meyer, P.A.
                                      St. Petersburg, FL 33713
                                      727.327.3328
                                      Attorney for Trustee
                                      Florida Bar No. 0664081

                            CERTIFICATE OF SERVICE
       I CERTIFY that on November 7, 2018, a true and correct copy of the foregoing has been

provided electronically or by U. S. mail to:
           Case 8:18-bk-06760-CPM        Doc 42    Filed 11/07/18   Page 3 of 3



Debtor(s): Lois Mae Wright, 1830 30th Ave N., Saint Petersburg, FL 33713
Debtor(s) Attorney: Robert M Geller, Law Offices Of Robert M. Geller, 807 W Azeele Street,
Tampa, Fl 33606
U.S. Trustee Office, ustpregion21.tp.ecf@usdoj.gov;
Chapter 7 Trustee, Carolyn R. Chaney



                                    /s/ Richard M. Dauval
                                   Richard M. Dauval, Esq.
                                   Attorney for the Trustee
